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UNITED STATES DISTRICT. COURT
SOUTHERN DISTRICT OF NEW YORK

03 MDL 1578 (RCC}
‘ In ze Terrorist Attacks on Scpiember 11.2001 | ECF Case

This docuimenz relates to-
New York Marine and General htsurance Ca. vy. Al Qaida, et at., Case No. 04-CV-6105
(S.D.NY)

STIPULATI ON AND ORDE R REGARDING SCHEDULE TO

Itis HEREBY STIPULATED AND AGREED), by and between Plaintiff in the above-
referenced case Consolidated under 03 MDL 1570 and Defendants Ahmed Totonji, Iqbal Unus,
Jamal Barzinji, M. Omar Ashraf, Mohammed Jaghlit, Muhammad Ashraf, M. Yaqub Mirza,
Taha Jaber Al-Alwani, African Muslim Agency, Grove Corporate, Heritage Education Trust,
Intemational Institute of Islamic Thought. Mar-Jac Investments, Inc.. Mena Corporation, Reston
Investments, Inc., Safa Trust, Sterling Charitable Gift Fund, Sterling Management Group, and
York Foundation (collectively, “Detendants"}, bv and through their ondersigned counsel, subject
tothe approval of the Court, as faliows:

1. The Court previausly approved Stipulations by and between counse] tor Plaintiff
and defendants Ahmed Totonji. Grove Cerporate. Heritage Education Trust, Iqbal Unus, Jamal
Barzinji, M. Omar Ashraf. Muhammad Ashraf. Vi. Yaqub Mirza, Moharamad Jaghlit, Sterling
Charitable Gift Fund, and Sterling Management Group to respond to Plaintiff's First Amended
Compiaint un ut before March 28, 2005.

2 Currently. pending before the Coun are three separate motions to dismiss relating
10 the Defendants in other consolidated cases: (1) 4 motion to dismiss in Buren +. Al Baraka

investinent and Development Group, et al. orousht by defendants African Muslim Agency.

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Grove Corporate, Heritage Ednestion Trust. Intemational Insutuic of Istamic Thought, Mar-Jac
Investments, Reston Investments, Safa Trust, and York Foundation; (2) 4 motion to dismiss in
Ashton v. Al Qaeda Islamic Army, et al. brought by the Intemational Institute of islamic
Thought; and.(3) 4 motion to disiniss in Federal Insurance Company v, Al Gaeda, et al. brought
by Kybal Unus, Jamal Barzinj:, M. Omar Ashrif,M. Yaqub Mirza, Muhammad Ashraf, and Tuha
AL-Alwani (ihe “Pending Motions”). The Court was fully briefed and heard argument on the
Pending Motions on October t2 and 14, 2004. and took them under submission at that lime.

3. in the interests of judicial economy and to avoid duplicative motions involving
similar allegations. it is hereby stipulated and agreed that Defendants shall have thirty (30) days
fmm the date on which the Court decides the Pending Motions ta-answer or otherwise respond to
Plaintiffs First. Amended Complaint in the above-referenced case.

4. Plaintiff shall have sixty (60) days from the date on which it is served with’
Defendants’ respansive pleadings to file a response, if any. Defendants shall have twenty-one
(21) days thereafter to file a reply to Plaintiff's opposition.

4, This stipulation supersedes all previous stipulations between Plainuff and any
Defendant.

Respectfully submitted

BROWN GAYALAS & FROMM LLP

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Atiorneys for Plaintiff
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By: C brs tinohes g Beal!
Christopher J. Beal
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Attorneys for Defendants

SO ORDERED:

. Dated: Macla 24,2008

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